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EXHIBIT
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Patrick Murphy

a SSE ra a a
From: Paula Colbath <pcolbath@loeb.com>

Sent: Sunday, June 23, 2024 6:19 AM

To: Patrick Murphy; Alex Inman; Scott C. Murray

Cc: Hirsch, Danny; Feinstein, Marc; Khale J. Lenhart; Marc Gottlieb; David Forrest; Sean

Larson; Leily Lashkari; sparikh@omm.com; Meggan Hathaway; Pao, William K.;
diden@omm.com; Kari Hartman; MineOne-BCB
Subject: Re: BCB v MineOne et al - Supplemental Exhibits

Pat: We are disclosing the witness as a courtesy to you. Based on your designated witnesses and exhibits, we
anticipate calling him as a rebuttal witness, which we do not need to disclose to you, but again we are doing so
as a courtesy to you.

Given that this is an evidentiary hearing and not oral argument on a motion, we would appreciate it if you
would send us complete copies of your designated exhibits, rather than isolated snippets and single pages from
documents, so we can avoid burdening the record with the discussion of same on Wednesday. I’m sure you,
like us, want to have a proper appellate record.

Paula

Paula Colbath
Partner

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LOEBur

345 Park Avenue | New York, NY 10154
Direct Dial: 212.407.4905 | Fax: 212.407.4990 | E-mail: pcolbath@loeb.com

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Sent: Saturday, June 22, 2024 9:42:05 PM

To: Alex Inman <ainman@loeb.com>; Scott C. Murray <smurray@wpdn.net>

Cc: Hirsch, Danny <dhirsch@omm.com>; Feinstein, Marc <mfeinstein@omm.com>; Khale J. Lenhart
<KLenhart@hirstapplegate.com>; Paula Colbath <pcolbath@loeb.com>; Marc Gottlieb <msg@orllp.legal>; David Forrest
<dforrest@loeb.com>; Sean Larson <slarson@hkwyolaw.com>; Leily Lashkari <llashkari@loeb.com>; sparikh@omm.com
<sparikh@omm.com>; Meggan Hathaway <mhathaway@spkm.org>; Pao, William K. <wpao@omm.com>;

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Case 1:23-cv-00079-ABJ Document 243-1 Filed 06/25/24 Page 3 of 4

diden@omm.com <diden@omm.com>; Kari Hartman <khartman@hkwyolaw.com>
Subject: RE: BCB v MineOne et al - Supplemental Exhibits

Alex:

BCB wholly objects to the MineOne Defendants trying to designate supplemental exhibits and a supplemental witness
for the June 26 evidentiary hearing.

On June 13, 2024, Judge Johnson issued the Court’s Order saying, “the parties shall exchange and file anticipated
witness lists no later than June 19, 2024.” And Judge Johnson also ruled that “the parties shall exchange and file
anticipated exhibits no later than June 24, 2024.”

Then, on June 21, you asked the Court to limit the parties to only two hours of presentation time each. And, later than
day, Judge Johnson limited the parties to ninety (90) minutes of evidence presentation, even though BCB needs — and
requested — 3.25 hours to present its evidence.

Yet now the MineOne Defendants seek to add another witness (which it has long known about) and exhibits (which have
been available to MineOne) on the weekend before the hearing. That is patently unfair and prejudicial to BCB. | reserve
all of BCB’s additional objections to this untimely disclosure after | have the chance — if | can even find the time in the
next three days — to look at the new exhibits and consider the new witness you are first disclosing at 7:30 pm on
Saturday night, June 22.

Pat Murphy
Counsel for Plaintiff BCB Cheyenne LLC

Patrick J. Murphy

Attorney at Law

Office: 307-265-0700
pmurphy@wpdn.net

159 N. Wolcott St. Suite 400 (82601)
P.O. Box 10700

Casper, WY 82602

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to another party any matters addressed herein. IRS Circular 230

From: Alex Inman <ainman@loeb.com>

Sent: Saturday, June 22, 2024 7:26 PM

To: Patrick Murphy <pmurphy@wpdn.net>; Scott C. Murray <smurray@wpdn.net>

Cc: Hirsch, Danny <dhirsch@omm.com>; Feinstein, Marc <mfeinstein@omm.com>; Khale J. Lenhart
<KLenhart@hirstapplegate.com>; Paula Colbath <pcolbath@loeb.com>; Marc Gottlieb <msg@orllp.legal>; David Forrest
<dforrest@loeb.com>; Sean Larson <slarson@hkwyolaw.com>; Leily Lashkari <llashkari@loeb.com>;

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sparikh@omm.com; Meggan Hathaway <mhathaway@spkm.org>; Pao, William K. <wpao@omm.com>;
diden@omm.com; Kari Hartman <khartman@hkwyolaw.com>
Subject: BCB v MineOne et al - Supplemental Exhibits

I'm using Mimecast to share large files with you. Please see the attached instructions.

Counsel:
Attached are supplemental exhibits that the MineOne Defendants are designating for the Evidentiary Hearing.
The MineOne Defendants are also designating an additional witness: Ed Deignan.

An amended exhibit/witness list will be filed with the Court on Monday.

Regards,

Alex

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